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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________
PACE-O-MATIC, INC.,                 :
                                    :
                     Plaintiff,     :
     v.                             : Docket No. 1:20-cv-00292
                                    :
ECKERT SEAMANS CHERIN &             :
MELLOTT, LLC, MARK S. STEWART, :      (Judge Jennifer P. Wilson)
and KEVIN M. SKJOLDAL,              :
                                    :
                     Defendants.    :
____________________________________:



__________________________________________________________________

             MEMORANDUM OF LAW OF DEFENDANTS
                  IN OPPOSITION TO PLAINTIFF’S
       AMENDED MOTION FOR PRELIMINARY INJUNCTION
__________________________________________________________________


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Date: October 22, 2021
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MELLOTT, LLC, MARK S. STEWART, :       (Judge Jennifer P. Wilson)
and KEVIN M. SKJOLDAL,               :
                                     :
                     Defendants.     :
____________________________________:


           MEMORANDUM OF LAW OF DEFENDANTS
               IN OPPOSITION TO PLAINTIFF’S
        AMENDED MOTION FOR PRELIMINARY INJUNCTION

      Defendants, Eckert Seamans Cherin & Mellott, LLC, Mark S. Stewart (“Mr.

Stewart”) and Kevin M. Skjoldal (collectively, “defendants” or “Eckert”), by and

through their counsel, Fox Rothschild LLP, hereby file their Memorandum of Law

in Opposition to the Amended Motion for Preliminary Injunction of plaintiff, Pace-

O-Matic, Inc. (“POM”).

                               INTRODUCTION

      The time for seeking injunctive relief in this case has now long since passed.

In addition to seeking unnecessary, inappropriate, and virtually case-dispositive

relief, the amended motion for preliminary injunction (the “Amended Motion”) filed

by POM fails to meet any of the requisite elements necessary to obtain any form of
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preliminary, injunctive relief. Through its Amended Motion, POM mischaracterizes

the limited nature of Eckert’s representation of POM and seeks to have this Court

somehow adjudicate Eckert’s past conduct in the absence of any need for prospective

injunctive relief.

       First, POM’s Amended Motion fails to establish that its request for relief is

either immediate or irreparable. Indeed, POM’s Amended Motion is untimely for

several reasons. POM first raised the issues addressed in the Amended Motion by

correspondence and discussion with Eckert beginning in October 2019 and

continuing through January 2020. At no time during that process did POM claim

that the advance conflict waiver in the Engagement Letter was invalid or ineffective.

POM then filed its original Complaint in February 2020 and its original motion in

late March 2020. Later, POM sought leave to file this Amended Motion in August

2021 – nearly 18 months later and after the issues raised in its Amended Motion

were resolved. The only thing substantively that has changed is that POM has been

given the relief that it originally sought, and its request is even more untimely than

before – now two years removed from the original discussions in October 2019.

Similarly, POM’s request for relief is not irreparable insofar as POM continues to

seek monetary damages in its Amended Complaint, as it did in its original

Complaint.



                                          2
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      Second, POM is not entitled to any of the relief that it seeks. There is no basis

for injunctive relief under the Pennsylvania’s Supreme Court decision in Maritrans

GP, Inc. v. Pepper, Hamilton & Scheetz, 602 A.2d 1277 (Pa. 1992).                Most

significantly, Eckert believed that it had a fully informed, advance conflict waiver.

There are internal Eckert e-mails that confirm the request for the waiver – as well as

the signed Engagement Letter between POM and Eckert which has an advance

conflict waiver in it. When Eckert learned, during the course of this litigation, that

it did not have a fully informed advance conflict waiver, it took appropriate steps to

remedy the concerns of a conflict raised by POM. More importantly, there has never

been any disclosure of confidential information. Eckert created an appropriate

ethical screen, and the attorneys have abided by that screen. Thus, there is absolutely

no basis or need for any form of injunctive relief.

      Third, contrary to what POM asserts, balancing the hardships and the public

interest weigh in favor of Eckert because the status quo does not require issuance of

any type of preliminary injunction. Able counsel of its choosing represents POM in

its actions pending in Pennsylvania. Eckert represents its other pre-existing gaming

clients in Pennsylvania in matters that are now totally removed from any of POM’s

cases. Aside from the absence of any direct adversity, the parties may maintain the

status quo by allowing them to have counsel of their choosing and adhering to the

appropriate sworn declarations.

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      In sum, POM cannot meet the requisite elements of a preliminary injunction.

Accordingly, this Court should deny POM’s Amended Motion in its entirety.

              FACTUAL AND PROCEDURAL BACKGROUND

               Eckert’s Prior Representation of POM in Virginia

      POM’s Amended Motion misleadingly suggests that Eckert represented POM

continuously from 2011.1 In December 2016, POM contacted Virginia attorney,

Thomas Lisk, who at the time was a member of Eckert, to see if Mr. Lisk could assist

POM with legislative and legal matters in Virginia. When Mr. Lisk raised the

potential engagement internally, other Eckert attorneys raised concerns, among

them, Mark Stewart, who is a co-chair of Eckert’s Gaming Group. Mr. Stewart was

concerned that Eckert’s representation of POM potentially could result in future

conflicts with Eckert’s pre-existing representation of certain gaming clients in

Pennsylvania. See First Declaration of Mr. Stewart attached hereto as Exhibit “B”.

Mr. Stewart raised his concerns directly with Mr. Lisk before the representation of




1
  In September 2011, POM approached Eckert about representing POM in
Pennsylvania involving its “Palmetto Gold” game. Eckert requested a $5,000
retainer and sent an Engagement Letter. The representation, in essence, ended
before it began. Eckert did some limited research and made some inquiries in
October 2011 and, ultimately concluded, that it could not assist POM and informed
POM of that conclusion. See Declaration of David Mayernik attached hereto as
Exhibit “A”. Eckert billed POM a total of $120.00 and later refunded the entirety of
the retainer, plus an additional $120.00 that POM overpaid. Id. Eckert provided no
legal services, advice or consultation whatsoever to POM over the next five years.
                                         4
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POM began. Id.; see also December 2016 and February – April 2017 e-mails

between Mr. Stewart and Mr. Lisk attached hereto as Exhibit “C”.

      So that there would be no confusion, Mr. Stewart told Mr. Lisk to confirm

with POM that POM understood that: (1) Eckert represented gaming clients in

Pennsylvania; (2) Eckert would continue to represent gaming clients in

Pennsylvania; (3) Eckert would not represent POM in Pennsylvania; (4) Eckert

could be adverse to POM in Pennsylvania; and (5) there was a potential positional

conflict with respect to Eckert’s representation of gaming clients in Pennsylvania

and Eckert’s representation of POM in Virginia that required a possible waiver. Id.

      In early 2017, Eckert began the representation of POM in Virginia,

presumptively subject to that advance conflict waiver and other representational

limitations that included an agreement that Eckert would not represent POM in

Pennsylvania and an acknowledgement by POM that Eckert could be adverse to

POM in Pennsylvania. See e-mails and Engagement Letter attached hereto as

Exhibits “C” and “D”, respectively. At that time, there was no overlap between the

work that Eckert was performing for its gaming clients in Pennsylvania and the work

that Eckert performed for POM in Virginia.

      Eventually, Mr. Lisk confirmed verbally and later by e-mail that he obtained

POM’s informed consent and waiver. Id. Eckert also put in place an appropriate

ethical screen to screen off the attorneys representing POM in Virginia from the

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attorneys representing gaming clients in Pennsylvania. See Mr. Stewart’s First

Declaration (Exhibit “B”).

      In April 2017 and then later in September 2017, POM sought Eckert’s

potential representation of POM in Pennsylvania. Eckert declined the representation

because of the potential positional conflict. See Declaration of Matthew Kirsner

attached hereto as Exhibit “E”. See also e-mails (Exhibit “C”).

      Eckert continued to represent POM in Virginia from early 2017 until January

2020. Id. It was only when POM refused to reaffirm its prior waiver of any potential

conflict and made a demand upon Eckert not to represent its gaming clients in

Pennsylvania that Eckert concluded that it had to withdraw from its representation

of POM in Virginia. Id.

      Notwithstanding the fact that Eckert properly disclosed its prior existing

representations to POM and that Eckert could not represent POM in Pennsylvania,

POM began to raise concerns about Eckert’s representation of its gaming clients in

Pennsylvania in October 2019. Thereafter, there were a series of communications

from October 2019 to January 2020 between Eckert and POM’s national counsel,

and then POM’s counsel in this same litigation. Eckert attempted to address the

concerns and simultaneously sought POM’s re-confirmation of the prior conflict

waiver in the Engagement Letter in order to continue to represent POM in Virginia.

Not only did POM refuse to reaffirm its prior waiver, POM then took the position

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that Eckert had to withdraw from its representation of other pre-existing clients in

order to satisfy POM’s concern. See Mr. Kirsner’s Declaration (Exhibit “E”).

Because of POM’s insistence that Eckert withdraw from its other representations

and its refusal to affirm its prior waiver, Eckert was left with no alternative but to

withdraw as POM’s counsel in Virginia in early 2020. Id.

      Separately, through other counsel, POM filed two Petitions for Review in the

Commonwealth Court of Pennsylvania seeking certain declarations about the use of

its games in Pennsylvania. POM put those legal issues – and, specifically, the

legality of its games – directly before the courts in Pennsylvania. Eckert is not

representing any party in those actions, and none of Eckert’s other clients put that

issue before the Commonwealth Court to decide; POM through other counsel did.

               Eckert Has Disclosed No Confidential Information

      Consistent with the ethical screen, at no time did any of the Eckert attorneys

working on the POM matters in Virginia discuss those matters with the Eckert

attorneys who were representing gaming clients in Pennsylvania. Id.; see also

Declaration of Anthony Troy attached hereto at Exhibit “F”. The Eckert attorneys

who represented POM did not disclose any of POM’s confidential information to

anyone. Id.

      Also consistent with the ethical screen, Mr. Stewart did not discuss the matters

on which he was working for his gaming clients in Pennsylvania with the Eckert

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attorneys who were representing POM in Virginia.            See Mr. Stewart’s First

Declaration (Exhibit “B”). Mr. Stewart did not disclose any of his gaming clients’

confidential information to anyone. Id.

      Consistent with all of Eckert declarations filed in opposition to POM’s

original Motion and this Amended Motion, no Eckert attorney working on POM’s

matters in Virginia shared any of POM’s confidential information with any of the

attorneys working for Parx Casino in Pennsylvania.

                Eckert Learns About Mr. Lisk’s Misstatements

      Despite the fact that, for almost four years, Eckert believed that it had a fully

informed advance conflict waiver, Eckert learned through the September 1, 2020

deposition of Mr. Lisk (who continues to represent POM since leaving Eckert a few

years ago) that it did not have such an informed conflict waiver. Specifically, Mr.

Lisk testified that, while POM had signed a written advanced waiver in its

Engagement Letter with Eckert, Mr. Lisk had neglected to discuss in detail with

POM the proposed conflict waiver allowing Eckert to be adverse to POM in

Pennsylvania, as suggested in his December 20, 2016 e-mail.2              See Second

Declaration of Mr. Stewart and Declaration of Timothy Coon, Eckert’s Chief Legal

Officer, attached hereto as Exhibits “G” and “H”, respectively.


2
 Mr. Lisk acknowledged at his deposition that he properly disclosed Eckert’s prior
existing representations to POM and that Eckert could not represent POM in
Pennsylvania.
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      Because Mr. Lisk did not obtain the conflict waiver requested, i.e., POM’s

agreement and understanding that Eckert could represent parties adverse to POM in

Pennsylvania, including Parx Casino, Eckert determined voluntarily that it would

not represent parties adverse to POM. See Second Declaration of Mr. Stewart at ¶6

(Exhibit “G”). To that end, Eckert withdrew as counsel in the matters that Parx

Casino initiated against a number of businesses conducting unlicensed gambling

operations in Pennsylvania (the “unlicensed gambling actions”) even though POM

is not a party in those actions.3 Id. at ¶7.

      In addition, Eckert agreed not to communicate with counsel for the

Commonwealth of Pennsylvania or any of the counsel of record for the proposed

interveners, including Parx Casino4, in the actions that POM commenced in the

Commonwealth Court of Pennsylvania to address the legality of POM’s games. Id.

at ¶¶8-9. Further, Eckert has agreed not to take a position adverse to POM or

advocate that POM’s devices are not predominantly based on skill. Id. at ¶10.




3
 While POM is not a party in those cases, the defendant businesses are using POM’s
games, so POM perceives adversity in the positions taken.
4
 The Commonwealth Court has not yet granted Parx Casino or any other proposed
intervener leave to become a party in the actions that POM commenced in the
Commonwealth Court, but nonetheless, there is adversity between POM’s position
in those cases and that of Parx Casino.
                                               9
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      Mr. Coon confirmed through a review of Eckert’s document audit trail

information5, that no Eckert attorney working for gaming clients in Pennsylvania

accessed documents for any POM matters contained on Eckert’s document

management system. See Declaration of Mr. Coon at ¶8 (Exhibit “H”). Mr. Coon

also confirmed that Eckert has every intention of complying fully with its

commitment not to represent any party adverse to POM consistent with

Pennsylvania Rules of Professional Conduct 1.7 and 1.9. Id. at ¶5.

                                Procedural History

      POM’s initially filed its Complaint in this action on February 18, 2020. Eckert

timely answered the Complaint on March 10, 2020. POM filed an Amended

Complaint on August 3, 2021. Eckert filed a partial motion to dismiss on August

27, 2021; Eckert filed its supporting brief on September 10, 2021. POM opposed

the partial motion to dismiss, which is still pending before this Court.

      POM filed its original motion for preliminary injunction on March 24, 2020.

Eckert filed its response to that motion on April 21, 2020. While POM and Eckert

agreed to take certain limited discovery in anticipation of a prompt hearing, the only

deposition taken was that of Mr. Lisk by Eckert’s counsel. That deposition took

place over a year ago on September 1, 2020.



5
 The audit trail function identifies any system user who accessed or copied a
document maintained on the system along with the date and other information.
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      POM then filed this Amended Motion on September 17, 2021. POM filed its

Brief in support of the Amended Motion on October 1, 2021. Eckert now submits

this Brief in opposition to the Amended Motion.

                          QUESTION PRESENTED

      Is POM entitled to any form of preliminary injunctive relief?

      Suggested Answer: No.

                             LEGAL ARGUMENT

      A.    POM’s Request for Injunctive Relief Is Untimely.

      Before even getting to the merits of POM’s request for injunctive relief, the

Court should deny POM’s Amended Motion as untimely. There is nothing

immediate or irreparable about the relief that POM is seeking. Indeed, there is

nothing current or timely about what POM seeks. All of the conduct to which POM

complains took place between October 2019 and February 2020.            All of the

“evidence” that POM cites to in its Amended Motion certainly pre-date Eckert’s

withdrawal from the unlicensed gambling actions and prior to Eckert agreeing not

to have any further communications concerning POM’s pending Commonwealth

Court cases. No discovery that POM has taken or may choose to take in the future

will change that. Eckert is not representing a party adverse to POM in any pending

action. There is also no dispute that Eckert no longer represents POM. Rather,

Eckert’s involvement in the unlicenses gambling actions and the Commonwealth

Court cases has ended. POM knows this, and Eckert has provided declarations to
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that effect. The concerns that POM has raised have long since been addressed and

remedied.

      As such, POM’s Amended Motion is untimely, and there is absolutely no need

for any form of prospective, injunctive relief. When courts review a lack of

timeliness in seeking injunctive relief, they routinely deny requests for injunctive

relief that are this far removed from any purported harm. See, e.g., Lanin v. Borough

of Tenafly, 515 F. App’x 114 (3d Cir. 2013) (Third Circuit affirmed denial of a

preliminary injunction where district court found a 2 year delay in seeking injunctive

relief which evidenced no immediate or irreparable harm); Skehan v. Board of

Trustees of Bloomsburg State College, 353 F. Supp. 542, 543 (M.D.Pa. 1973) (long

delay in seeking injunctive relief is a bar to such relief).

      B.     POM Cannot Establish a Right to Relief Under Maritrans.

      The seminal case concerning claims for breach of fiduciary duty under

Pennsylvania law is Maritrans GP, Inc. v. Pepper, Hamilton & Scheetz, 602 A.2d

1277, 1283 (Pa. 1992). In Maritrans, the Pennsylvania Supreme Court conclusively

established that an attorney owes his client a fiduciary duty to maintain a client’s

confidential information and to preserve an attorney’s loyalty to a client by not

engaging in impermissible conflicts of interest. Id.

      The key issue in Maritrans, which supported the entry of injunctive relief, was

that the very same attorney who held the confidential information and the duty of

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loyalty to the former client was the attorney seeking to represent the former client’s

competitors in substantially related matters.     Id. at 248-249 and 1286. There,

Maritrans actually agreed to the implementation of an ethical screen that permitted

its former lead attorney, Anthony Messina, Jr., to represent four competitors of

Maritrans in New York. Id. at 249. Messina not only violated the ethical screen in

order to represent other Maritrans competitors, but he was simultaneously trying to

recruit another attorney representing other Maritrans competitors to join Pepper. Id.

      Because of Messina’s direct knowledge of Maritrans’ highly confidential and

industry-competitive information and because Messina was directly representing

competitors in actions adverse to Maritrans (and had violated his own proposed

ethical screen), the trial court believed that a preliminary injunction was warranted.

Id. at 251.

      Interestingly, both the trial court and the Supreme Court found the ethical

screen there to be defective largely because Messina was on both sides of it.

Nevertheless, in dissent, former Chief Justice Nix believed that an injunction was

unnecessary because Maritrans had given its consent to the ethical screen. Id. at 266.

      While Maritrans certainly establishes a cause of action for breach of fiduciary

duty under Pennsylvania law and even a potential basis for injunctive relief in certain

circumstances, none of the factors that existed in Maritrans is present here. First,

Eckert obtained an advance conflict waiver in order for Eckert to represent POM in

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Virginia subject to certain limitations. That conflict waiver recognized that Eckert

represented gaming clients in Pennsylvania whose interests were potentially adverse

to POM in Pennsylvania, where Eckert could not represent POM. Second, there is

an ethical screen in place, and there are different attorneys involved in the respective

representations not the same one as in Maritrans. Third, Eckert has not disclosed

any confidential information of POM; there is no evidence to the contrary. Fourth,

the matters are not substantially related, as they involve different legal issues in

different fora where the framework for gambling is entirely different. Finally, here,

POM cannot demonstrate any of the elements necessary to establish injunctive relief

particularly because Eckert is not representing any party adverse to POM.

       Accordingly, Maritrans provides no basis for POM to obtain injunctive relief

in this case.

       C.       POM Is Not Entitled To Injunctive Relief.

                1.   Standard for a Preliminary Injunction.

       Injunctive relief is an “extraordinary remedy and should be granted only in

limited circumstances.” Kos Pharmaceuticals v. Andrx Corp., 369 F.3d 700, 708

(3d Cir. 2004); Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 800

(3d Cir. 1989). Preliminary injunctive relief, as an extraordinary remedy, places

precise burdens on the moving party, and ‘the preliminary injunction must be the

only way of protecting the plaintiff from harm.’” Loveless v. Bank of America, N.A.,


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No. 13-1546, 2016 WL 5030394 at *5 (M.D. Pa. Aug. 24, 2016), citing Instant Air

Freight, 882 F.2d at 801; Thomas v. Pennsylvania Dept. of Corr., No. 13-2661, 2014

WL 3955105 at *1 (M.D. Pa., Aug. 13, 2014) (“An injunction is an extraordinary

remedy that is never awarded as of right”). Moreover, “irreparable injury is “harm

which cannot be redressed by a legal or an equitable remedy following trial,” and

“the preliminary injunction must be the only way of protecting the plaintiff from

harm.” Instant Air Freight, 882 F.2d at 801.

      In order to obtain a preliminary injunction, the moving party bears the heavy

burden of establishing that: (1) it has shown a reasonable probability of success on

the merits; (2) it will be irreparably injured by denial of the relief because there is

no adequate remedy at law; (3) granting preliminary relief will not result in even

greater harm to the other party; and (4) granting preliminary relief will be in the

public interest. See ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1990);

Prudential Ins. Co. of America v. Stella, 994 F. Supp. 308, 316 (E.D. Pa. 1998); see

also American Tel. & Tel. Co. v. Windback & Conserve Program, Inc., 42 F.3d 1421,

1427 (3d Cir. 1994).

      In this Circuit, a district court may issue a preliminary injunction only if the

moving party has shown that it is likely to prevail on the merits, that it will suffer

irreparable harm absent such relief and that the balance of the equities and the public

interest favor injunctive relief. See American Greetings Corp. v. Dan-Dee Imports,

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Inc., 807 F.2d 1136, 1140 (3d Cir. 1986). This Court should deny POM’s Amended

Motion because POM is incapable of establishing the necessary requirements for

such relief.

               2.   POM Cannot Establish Immediate and Irreparable Harm.

      POM cannot establish immediate and irreparable harm here. Aside from the

fact that there has been no breach of confidentiality or improper use of any

purportedly confidential information, there is an ethical screen in place. There are

no allegations or evidence to the contrary by POM of Eckert’s purported misuse of

confidential information. The allegation that Eckert could potentially misuse POM’s

“confidential” information in other clients’ matters lacks any supporting evidence,

including from Mr. Lisk. POM waives as a sword a vague allegation with no support

and which as a matter of unassailable fact is simply untrue.

      POM also waited, first, to file and seek any type of relief and, second, has

done nothing to move this matter toward any resolution, which calls into question

the tactical nature of its Amended Motion and whether there is, in fact, any

immediate or irreparable harm. POM knew at the outset of Eckert’s representation

of POM that Eckert represented gaming clients in Pennsylvania who were

potentially adverse to POM.       POM also knew as early as the start of the

representation, but certainly no later than April 2017, that Eckert could not – and

would not – represent POM in Pennsylvania. POM identified and complained of a

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potential conflict with Eckert as early as October 2019. Despite all of that, POM

filed its Complaint in February 2020 and waited until late March 2020 to file its

original motion. All of the conduct to which POM complains took place between

October 2019 and February 2020. It then filed this Amended Motion after Eckert in

essence provided it with the relief that it was seeking. 6

      POM simply has failed in its burden to establish immediate and irreparable

harm. In this Circuit, “[a] plaintiff has the burden of making a ‘clear showing of

immediate irreparable (not merely serious or substantial) injury’ . . .” Prudential,

994 F. Supp. at 316, quoting Campbell Soup Co. v. ConAgra, Inc., 977 F.2d 86, 90-

91 (3d Cir. 1992). “An injury is regarded as ‘irreparable’ if it will cause damage

which can be estimated only by conjecture and not by an accurate pecuniary

standard.” Sheridan Broad. Networks, Inc. v. NBN Broad., Inc., 693 A.2d 989, 995

(Pa. Super. Ct. 1997) quoting Sovereign Bank v. Harper, 674 A.2d 1085, 1093 (Pa.

Super. 1996); Rollins Protective Services Co. v. Shaffer, 557 A.2d 413, 414 (Pa.

Super. Ct. 1989).

      In its Amended Complaint, POM seeks a disgorgement of the legal fees POM

paid to Eckert for Eckert’s representation of POM in Virginia. Although those




6
 In part, Eckert did so to move this matter toward resolution and to resolve all
outstanding issues with respect to the original motion and now this Amended
Motion, which substantively adds nothing new.
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alleged damages are not recoverable, POM nonetheless asserts an entitlement to

them. Irreparable harm is harm where no adequate remedy of law exists such that a

party may be compensated in the form of monetary damages. See Doe v. Provident

Life & Accident Insurance Co., 936 F. Supp. 302, 305-06 (E.D. Pa. 1996) (equitable

relief is not appropriate where a party has an adequate legal or statutory remedy),

citing Tudor Dev. Group v. U.S.F.&G., 968 F.2d 257, 264 (3d Cir. 1992). Here,

POM has not suffered any immediate or irreparable harm. Accordingly, this Court

should deny POM’s Amended Motion.

               3.   POM Cannot Prevail on the Merits of Its Claims.

      POM asserts one substantive cause of action relevant to its Amended Motion

– a claim for breach of fiduciary duty. For the reasons articulated above, POM

cannot establish that Eckert violated its duties of confidentiality or loyalty as Eckert

believed that POM had waived the potential conflict, POM executed an advance

conflict waiver, Eckert is not representing any party adverse to POM, Eckert

established an ethical screen, and there has been no disclosure of any confidential

information.

      With respect to the ethical screen, POM has no evidence that any Eckert

attorney who handled its matters in Virginia shared its confidential information with

anyone, let alone the attorneys who represented Eckert’s gaming clients in




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Pennsylvania.    Eckert’s Declarations (including the review of the audit trail

information) submitted with this memorandum confirm that assertion.

      With respect to the purported conflict and the conflict waiver, POM signed an

Engagement Letter that contained an advance conflict waiver.7 Eckert no question,

based upon the contemporaneous e-mails, believed that it had a fully informed

conflict waiver. It was a condition precedent to Eckert’s representation of POM in

Virginia. When Eckert learned of Mr. Lisk’s misstatements, it took the appropriate

steps to remedy the concerns raised by POM.

      The efficacy of the advance conflict waiver and the fact that Eckert believed

that it had a fully informed conflict waiver undermine POM’s claim of a breach of

fiduciary duty. There is no dispute that Eckert established an ethical screen and has

protected POM’s confidential information. Therefore, there has been no breach of

any fiduciary duty by Eckert. Accordingly, POM cannot prevail on the merits of its

breach of fiduciary duty claim, and this Court should deny POM’s Amended Motion.




7
 The Court also should note that positional conflicts do not require informed consent
and waiver as contemplated by RPC 1.7. On that point, Comment [24] states as
follows: “Ordinarily, a lawyer may take inconsistent legal positions in different
tribunals at different times on behalf of different clients. The mere fact that
advocating a legal position on behalf of one client might create precedent adverse to
the interests of a client represented by the lawyer in an unrelated matter does not
create a conflict of interest.” RPC 1.7, Comment [24]. That is precisely what POM
alleges occurred here and why there is no conflict of interest.
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             4.     Balancing the Hardships Weighs in Favor of Eckert.

      When considering the appropriateness of an injunction, this Court must ensure

that granting preliminary relief will not result in even greater harm to the other party.

See ECRI, 809 F.2d at 226. Consequently, this Court should balance the interests of

the parties and determine whether the grant of injunctive relief would impose greater

harm upon either party. Here, POM in essence seeks to punish Eckert when Eckert

has voluntarily taken the necessary steps to prevent any future harm. The Second

Declaration of Mr. Stewart and of Mr. Coon mirror the proposed relief that POM

seeks with this Amended Motion. See POM’s Order attached hereto as Exhibit “I”.

There is simply no need for injunctive relief at this stage of these proceedings.

      More importantly, it is POM, and not Eckert that put the legality of POM’s

games before the Pennsylvania courts.            POM filed its own cases in the

Commonwealth Court. Thus, it is POM, which has put the legality of its games at

issue – not Eckert. Nevertheless, the issues which concern POM ultimately will be

addressed by the Commonwealth Court, and Eckert will not be involved in those

matters. Thus, maintaining the status quo and a balancing of the equities would

weigh strongly in favor of denying POM’s request for injunctive relief in this case.

      As such, granting injunctive relief is unnecessary as POM has obtained the

relief that it seeks. Accordingly, the Court should deny POM’s Amended Motion.




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             5.     Granting POM’s Injunction Is Not in the Public’s Interest.

      POM has failed to allege properly, and it cannot establish, that granting an

injunction will be in the public’s interest. Quite to the contrary, any evaluation with

respect to the public’s interest weighs heavily in Eckert’s favor. It is in the public’s

interest to permit parties to choose which counsel should represent them and in what

context. POM’s requested relief unnecessarily violates that principle particularly in

the absence of any need for prospective relief.

      Similarly, POM’s Amended Motion strongly suggests that it was filed more

as a tactical weapon than any immediate or irreparable need for relief. The timing

of this Amended Motion raises concerns.

      In sum, it is not in the public’s interest to invoke this Court’s equitable powers

and resources when POM has an adequate legal remedy with respect to any potential

monetary damages, and where there is no need for prospective injunctive relief. It

is in the public interest to reserve the Court’s equitable powers for circumstances

that warrant them. Equitable relief is unnecessary and unwarranted here. The Court,

accordingly, should deny POM’s Amended Motion.




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                                 CONCLUSION

      For all of the foregoing reasons, defendants, Eckert Seamans Cherin &

Mellott, LLC, Mark S. Stewart and Kevin M. Skjoldal, respectfully request that this

Court enter their proposed form of Order and deny the amended motion for

preliminary injunction of plaintiff, Pace-O-Matic, Inc.

                                Respectfully submitted,



                                _________________________________________
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Date: October 22, 2021




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________
PACE-O-MATIC, INC.,                  :
                                     :
                     Plaintiff,      :
     v.                              : Docket No. 1:20-cv-00292
                                     :
ECKERT SEAMANS CHERIN &              :
MELLOTT, LLC, MARK S. STEWART, :       (Judge Jennifer P. Wilson)
and KEVIN M. SKJOLDAL,               :
                                     :
                     Defendants.     :
____________________________________:

                     CERTIFICATE OF COMPLIANCE

      I, Robert S. Tintner, Esquire, hereby certify that the foregoing Memorandum

of Law in Opposition to Amended Motion for Preliminary Injunction is in

compliance with Local Rule 7.8(b)(2). The total word count according to

Microsoft Word is 4999.




                               _________________________________________
                               ROBERT S. TINTNER, ESQUIRE
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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________
PACE-O-MATIC, INC.,                  :
                                     :
                     Plaintiff,      :
     v.                              : Docket No. 1:20-cv-00292
                                     :
ECKERT SEAMANS CHERIN &              :
MELLOTT, LLC, MARK S. STEWART, :       (Judge Jennifer P. Wilson)
and KEVIN M. SKJOLDAL,               :
                                     :
                     Defendants.     :
____________________________________:

                         CERTIFICATE OF SERVICE

      I, Robert S. Tintner, Esquire, hereby certify that, on this 22nd day of October,

2021, I served a true and correct copy of the foregoing Memorandum of Law in

Opposition to Amended Motion for Preliminary Injunction, via ECF, upon the

following:

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                          PACE-O-MATIC, INC.




                                _________________________________________
                                ROBERT S. TINTNER, ESQUIRE
